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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                  )
 ROBYN KRAVITZ, et al.,                           )
                                                  )
       Plaintiffs,                                )
                                                  )
       v.                                         )
                                                  )          Civil Action No. 18-1041-GJH
 UNITED STATES DEPARTMENT OF                      )
 COMMERCE, et al.,                                )
                                                  )
       Defendants.                                )
                                                  )
                                                  )

                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE of the entry of appearance of the undersigned Department of

Justice Attorney as an attorney to be noticed for Defendants in the above-captioned matter.

Dated: July 8, 2019                                   Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      DAVID M. MORRELL
                                                      Deputy Assistant Attorney General

                                                      /s/ Glenn M. Girdharry
                                                      CHRISTOPHER A. BATES
                                                      GLENN M. GIRDHARRY
                                                      COLIN A. KISOR
                                                      CHRISTOPHER R. REIMER
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                                                      Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

       I certify that on December 4, 2017, I electronically filed the foregoing with the Clerk of
Court by using the CM/ECF system which will deliver a copy to all counsel of record.

                                             s/ Glenn M. Girdharry
                                             GLENN M. GIRDHARRY
                                             Assistant Director
                                             United States Department of Justice
                                             Civil Division




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